Case 6:14-cr-00163-PGB-G_K Document 94 Filed 09/14/15 Page 1 of 2 PageID 322




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION



UNITED STATES OF AMERICA



VS.                                             CASE NO: 6:14-cr-163-Orl-40GJK

PATRICE A. JACKSON




                              ORDER AND NOTICE
                           OF SHOW CAUSE HEARING
      This cause comes before the Court on a Report and Recommendation (Doc. No.

93), entered by the Magistrate Judge after conducting a Final Probation Revocation

Hearing pursuant to Local Rule 6.01(c)(16) on August 25, 2015.

      After an independent de novo review of the record in this matter, noting that the 14

day objection period has expired and no objections were filed, the Court agrees entirely

with the findings of fact and conclusions of law in the Report and Recommendation.

      Therefore, it is ORDERED as follows:

      1.     The Report and Recommendation entered August 25, 2015 (Doc. No. 93)

             is ADOPTED AND CONFIRMED and made a part of this Order.

      2.     Defendant shall personally appear on September 25, 2015 at 11:00 a.m.

             before the Honorable Paul G. Byron, United States District Judge, in

             Courtroom #4B, Fifth Floor, U.S. District Court, 401 West Central Blvd.,
Case 6:14-cr-00163-PGB-G_K Document 94 Filed 09/14/15 Page 2 of 2 PageID 323




            Orlando, Florida and shall show cause why supervised release should not

            be revoked.

      DONE and ORDERED in Orlando, Florida this 14th day of September 2015.




The United States Attorney is responsible for issuing any necessary writ to obtain
defendant's presence at this hearing. Should the U.S. Marshal determine that a writ
is necessary to obtain defendant's presence and that no writ has been received,
the U.S. Marshal shall immediately advise the U.S. Attorney to deliver such writ in
sufficient time to cause defendant's presence at such hearing.



Copies to:
United States Magistrate Judge
Counsel for Defendant
United States Attorney
United States Marshal Service
United States Probation Office
Courtroom Deputy Clerk




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